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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

    MORGAN & MORGAN, P.A.

                          Plaintiff,                      No. _____________

      v.
                                                          (Removed from Del. Ch., C.A. No.
    TRUMP PANAMA HOTEL MANAGEMENT                         2018-0031-JRS)
    LLC, and TRUMP INTERNATIONAL HOTELS
    MANAGEMENT, LLC,

                          Defendants.

                                       NOTICE OF REMOVAL

           PLEASE TAKE NOTICE that, pursuant to 9 U.S.C. §§ 205, 302 and 28 U.S.C. § 1446,

the undersigned defendants (collectively, the “Removing Defendants”) hereby remove the

above-captioned action (the “Action”) from the Court of Chancery of the State of Delaware to

the United States District Court for the District of Delaware.1 Pursuant to 28 U.S.C. § 1441 and

9 U.S.C. §§ 205, 302, this Court has original jurisdiction over the Action under 28 U.S.C. § 1331

and 9 U.S.C. §§ 202, 302. As grounds for removal, the Removing Defendants state as follows:

     1.       This Court has subject matter jurisdiction over the Action because the action falls

under the auspices of the United Nation’s Convention on the Recognition of Foreign Arbitral

Awards (“New York Convention”) and the Inter-American Convention on International

Commercial Arbitration (“Panama Convention”), which are codified into federal law at Chapters

2 and 3 of the Federal Arbitration Act, 9 U.S.C. §§ 1 et seq., respectively, as it concerns foreign




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 The Removing Defendants appear for the purpose of removal only and for no other purpose,
and do not waive, and expressly preserve, all rights, claims and defenses of any nature
whatsoever, including, without limitation, all defenses relating to service of process, jurisdiction,
venue and arbitrability.
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commercial arbitrations. As such, this Action is deemed to arise under the laws and treaties of

the United States pursuant to 9 U.S.C. §§ 203, 302.

                     PROCEDURAL HISTORY AND BACKGROUND

   2.      On or about January 16, 2018, Plaintiff filed a Verified Complaint to Enjoin

Arbitration (the “Complaint”) in the Court of Chancery of the State of Delaware, captioned,

Morgan & Morgan, P.A. v. Trump Panama Hotel Management, LLC, et al., C.A. No. 2018-

0031.

   3.      On or about January 18, 2018, each of the Removing Defendants received via their

registered agent the Summons, Verified Complaint to Enjoin Arbitration, its Exhibits, Plaintiff’s

Motion for Expedited Proceedings, [Proposed] Order Granting Plaintiff’s Motion for Expedited

Proceedings, Plaintiff’s Motion for Preliminary Injunction, [Proposed] Order Granting Plaintiff’s

Motion for Preliminary Injunction, and Plaintiff’s Opening Brief in Support of its Motion for

Preliminary Injunction and Motion for Expedited Proceedings.

   4.      In accordance with 28 U.S.C. § 1446(a), copies of process, pleadings and orders in

the Action are appended hereto as Exhibit A.

   5.      The Complaint arises out of an international arbitration pending since on or about

October 14, 2017 before the International Chamber of Commerce (“ICC”), captioned Hotel

TOC, Inc. v. Trump Panama Hotel Management LLC, et al., No. 23149/MK. The arbitration

hearing is to be held in Panama. Plaintiff herein, Morgan & Morgan, is a Panamanian law firm.

On or about December 4, 2017 the Removing Defendants filed with the ICC their Request for

Joinder of Plaintiff, among others, under Article 7 of the ICC Rules. Accordingly, the arbitration

against Plaintiff Morgan & Morgan herein began on December 4, 2017, because “the date on

which the Request for Joinder is received by the Secretariat shall, for all purposes, be deemed to



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be the date of the commencement of the arbitration against the additional party.” Article 7, ICC

Arbitration Rules. This international arbitration concerns unlawful wrongs undertaken in

Panama by Hotel TOC, Inc. (Claimant in the arbitration) and additional parties, including

Plaintiff, named in the ICC arbitration which, inter alia, conspired to wrongfully oust the

Removing Defendants as managers of the property.

   6.      Plaintiff served as Panamanian counsel to Panama entities that orchestrated the

tortious and improper attempts on Panama soil to oust the Removing Defendants. In that

capacity, Plaintiff made misrepresentations in Panama to owners of hotel units at the hotel in

Panama and actively participated in a scheme to wrest management of the property from the

Removing Defendants.

   7.      The Removing Defendants’ time to respond to the Complaint by answer or motion to

dismiss has not expired, and no defendant has yet served or filed an answer or motion in

response to the Complaint.

   8.      Because the Removing Defendants filed this Notice of Removal before the trial of the

Action, removal is timely under 9 U.S.C. §§ 205, 302. See Suter v. Munich Reinsurance Co.,

223 F.3d 150, 158 (3d Cir. 2000).

  FEDERAL JURISDICTION EXISTS UNDER THE FEDERAL ARBITRATION ACT

   9.      Chapters 2 and 3 of the Federal Arbitration Act provide for federal subject matter

jurisdiction over actions concerning commercial arbitrations or commercial arbitration

agreements arising under the auspices of the New York or Panama Conventions, as well as the

removal of such actions originally filed in state court.




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   10.      Pursuant to 9 U.S.C. §§ 202, 305, “an arbitration agreement. . . arising out of a legal

relationship, whether contractual or not, which is considered as commercial” falls under the

New York or Panama conventions, respectively. (emphasis added).

   11.      Pursuant to 9 U.S.C. § 205, 305:

         Where the subject matter of an action or proceeding pending in a State court relates
         to an arbitration agreement or award falling under the Convention, the defendant
         or defendants may, at any time before the trial thereof, remove such action or
         proceeding to the district court of the United States for the district and division
         embracing the place where the action or proceeding is pending.

(emphasis added).

   12.      First, the agreement to arbitrate squarely falls within the New York and Panama

Conventions because it is commercial in nature, involves international parties and concerns

international property. Panama, the location of the arbitration hearing as well as the country in

which the property and all other parties are located, is a signatory to both the New York and

Panama Conventions. The Action seeks relief with respect to an international arbitration

currently pending before the International Chamber of Commerce, which is indisputably a

commercial arbitration, and which concerns the management of a hotel property in Panama and

actions by various tortfeasors – including Plaintiff – undertaken in Panama and relating thereto.

The requirements of the New York and Panama Conventions concerning this arbitration are

satisfied, as the arbitration is not entirely between citizens of the United States (the Removing

Defendants are the only U.S. citizens in the arbitration), concerns property abroad and

contemplates performance abroad. See 9 U.S.C. §§ 2, 202. The hearing location for the

arbitration is Panama City, Panama.

   13.      Second, the arbitration was commenced by clients of Plaintiff pursuant to a written

agreement, the Hotel Management Agreement, which provides, in relevant part:



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    all disputes, controversies, claims or disagreements arising out of or relating to the
    Agreement (singularly, a “Dispute”, and collectively, “Disputes”) shall be resolved in
    the following manner . . . Either Party may submit the Dispute to the International
    Chamber of Commerce for binding arbitration under then existing ICC Commercial
    Arbitration Rules.

    14.     In the arbitration, the Removing Defendants have asserted that Plaintiff is lawfully

subject to Joinder in the arbitration under the provisions of the Hotel Management Agreement

given, among other things, Plaintiff’s status as an agent of parties bound in arbitration, as well as

its active participation and undertaking of tortious acts in Panama in the fraudulent scheme of

joint tortfeasors joined in arbitration.

    15.     In this Action, Plaintiff seeks a declaration that it is not subject to the international

arbitration and a corresponding injunction against the Removing Defendants enjoining them

from prosecuting the international arbitration against Plaintiff. Compl. ¶¶ 31, 37.

    16.     The standard for demonstrating removal jurisdiction under the Federal Arbitration

Act is “a lenient one.” Amato v. KPMG LLP, 433 F. Supp. 2d 460, 477 (M.D. Pa. 2006),

reconsidered and vacated in part on reconsideration on other grounds 2006 WL 2376245 (M.D.

Pa. Aug. 14, 2006). The Federal Arbitration Act’s use of “‘relates to’ generally conveys a sense

of breadth” and is an “‘easy’ removal standard.” Id. (citing Beiser v. Weyler, 284 F.3d 665, 669

(5th Cir. 2002)); accord Silec Cable S.A.S. v. Alcoa Fjardaal, SF, No. CIV 12-01392, 2012 WL

5906535, at *7 (W.D. Pa. Nov. 26, 2012); Reid v. Doe Run Resources Corp., 701 F.3d 840 (8th

Cir. 2012); Infuturia Global Ltd. v. Sequus Pharmaceuticals, Inc., 631 F.3d 1133 (9th Cir. 2011).

    17.     A “district court will have jurisdiction under § 205 over just about any suit in which a

defendant contends that an arbitration clause falling under the Convention provides a defense.

As long as the defendant’s assertion is not completely absurd or impossible, it is at least

conceivable that the arbitration clause will impact the disposition of this case. This is all that is

required to meet the low bar of ‘relates to.’” Amato, 433 F. Supp. 2d at 477.
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   18.     Indeed, the Third Circuit has endorsed the Beiser holding with respect to the ease of

removal under § 205. In Century Indemnity Company v. Certain Underwriters at Lloyd’s,

London, the Third Circuit affirmed the ruling of the Eastern District of Pennsylvania denying

plaintiff’s motion to remand a case removed pursuant to 9 U.S.C. § 205 (and subsequently

arbitrated), which relied on the Beiser standard. 584 F.3d 513, 520 (3d Cir. 2009) (citing

Century Indem. Co. v. Certain Underwriters at Lloyd's, London, No. 05-CV-6004, 2006 WL

6667385, at *1 (E.D. Pa. May 18, 2006)).

   19.     Accordingly, federal subject matter jurisdiction unquestionably exists over this

Action and removal is appropriate pursuant to 9 U.S.C. §§ 205, 302.

                                        CONCLUSION

   20.     Promptly upon the filing of this Notice of Removal, a true copy of this Notice of

Removal will be provided to all adverse parties pursuant to 28 U.S.C. § 1446(d). Pursuant to

Rule 5(d) of the Federal Rules of Civil Procedure, the Removing Defendants will file with this

Court a certificate of Service of Notice to Adverse Parties of Removal to Federal Court.

   21.     Concurrently with the filing of this Notice of Removal, the Removing Defendants are

filing a Notification of Filing of Notice of Removal with the clerk of the Court of Chancery of

the State of Delaware, in accordance with 28 U.S.C. § 1446(d).


Dated:     January 18, 2018
           Wilmington, Delaware




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                                        Respectfully submitted,

                                         PRICKETT, JONES & ELLIOTT, P.A.
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